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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,        )        No. CR-F-04-5278 OWW
                                      )
10                                    )        MEMORANDUM DECISION AND
                                      )        ORDER DENYING PETITIONER'S
11                    Plaintiff/      )        MOTION TO GRANT POLITICAL
                      Respondent,     )        ASYLUM
12                                    )
                vs.                   )
13                                    )
                                      )
14   JESUS HUMBERTO CARDENAS-NAVA     )
     aka CARLOS DANIEL GONZALEZ-      )
15   GARCIA,                          )
                    Defendant/        )
16                  Petitioner.       )
                                      )
17                                    )

18        Petitioner Jesus Humberto Cardenas-Nava, also known as

19   Carlos Daniel Gonzalez-Garcia, proceeding in pro per, has filed a

20   motion in which he requests the Court grant Petitioner political

21   asylum.   Petitioner asserts that, as part of his plea agreement

22   with the United States, he was to be granted political asylum.

23   Petitioner contends:

24              [He] has already done his part of the deal,
                the fact at the time his attorney did not
25              explain to Petitioner the whole ordeal how
                the political asylum works the fact that the
26              attorney told him to sign all legal papers

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1              from the guilty plead, and that the
               Government talked about giving me the status
2              of political asylum [sic].

3    Petitioner prays that the Court "grant him the proceedings for

4    political asylum in which had already been offered to Petitioner

5    by the Government."

6         Petitioner, represented by Stephen Mensel, was charged by

7    Superseding Information with two counts of using a communication

8    facility to facilitate a drug trafficking offense.         On February

9    1, 2006, Petitioner pleaded guilty to both counts pursuant to a

10   written Plea Agreement.     The Plea Agreement provided in pertinent

11   part:

12             2.    Agreements by the Defendant.

13             ...

14             (c) The defendant agrees that the sentence on
               both counts of the Superseding Information
15             should run consecutive to each other and
               further agrees to a sentencing of 96 months.
16             The defendant will not move for a downward
               departure or reduction of his sentence beyond
17             that agreed to by the government under the
               terms of this written plea agreement. The
18             defendant understands and agrees that this
               agreement by him includes, but is not limited
19             to, not moving for a downward departure of
               his offense level, criminal history, criminal
20             history points, as defined by the Sentencing
               Guidelines.
21
               (d) The defendant further agrees that he will
22             submit to a truthful and complete interview
               with the government pursuant to U.S.S.G. §
23             2D1.1(c)(6) and U.S.S.G. § 5C1.2 (Limitations
               on Applicability of Statutory Minimum
24             Sentences in Certain Cases) as a condition to
               this agreement.
25
               ...
26

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1              3.    Agreements by the Government.

2              (a) The government will recommend that the
               defendant receive a 3-level reduction in the
3              computation of his offense level due to his
               acceptance of responsibility, provided that
4              the defendant qualifies for such a reduction
               in his interview with the probation officer.
5
               ...
6
               (c) The government further agrees to
7              recommend a 2-level reduction in his offense
               level pursuant to U.S.S.G. § 2D1.1(c)(6)
8              which provides for such reduction where the
               defendant meets the criteria set forth in
9              subdivisions (1) through (5) of U.S.S.G. §
               5C1.2 (Limitations on Applicability of
10             Statutory Minimum Sentences in Certain
               Cases), provided that the probation office
11             agrees that the defendant meets these
               criteria and that the defendant submits to a
12             truthful and complete interview with the
               government.
13
     There is nothing in the Plea Agreement referring to political
14
     asylum for Petitioner.    Pursuant to the Plea Agreement,
15
     Petitioner waived his right to appeal and his right to
16
     collaterally attack his conviction or sentence pursuant to 28
17
     U.S.C. §§ 2241 or 2255 During the change of plea proceedings,
18
     after the Court ascertained that Petitioner understood and agreed
19
     to all of the items to which Petitioner and the United States had
20
     agreed to, the following colloquy occurred:
21
               Q. That’s the whole agreement in writing
22             about what you are supposed to give and get
               in return. [¶] Do you have any different
23             understanding, has anybody promised you
               anything, do you expect to get anything not
24             in writing in this case?

25             A.    Yes.

26             Q.    What is that?   What else do you expect to

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1                 get that’s not in writing?

2                 (The defendant and his counsel conferred off
                  the record.)
3
                  THE DEFENDANT: No, everything is fine.
4
                  BY THE COURT: Q. All right. You don’t
5                 expect, except what we have gone over, what
                  the government has agreed to do, you don’t
6                 expect anybody to do anything more for you by
                  way of this agreement; is that true, except
7                 what’s in writing?

8                 A.   Yes.

9                 Q. Thank you. Has anybody put pressure on
                  you or forced you to change your plea in this
10                case?

11                A.   No.

12   There is no mention of political asylum in the Presentence

13   Investigation Report or at sentencing.       Petitioner declined to be

14   interviewed by the Probation Officer prior to sentencing on the

15   advice of counsel.       There is no discussion at Petitioner’s

16   sentencing of Petitioner’s immigration status or his cooperation

17   with the Government other than that set forth in the Plea

18   Agreement.    Petitioner was sentenced on April 17, 2006 to 96

19   months incarceration.       Petitioner’s claim that he was promised

20   political asylum as part of his plea agreement is not supported

21   by the record.

22        Political asylum is governed by 8 U.S.C. § 1158 and 8 U.S.C.

23   § 1225(b) and is determined by the Secretary of Homeland Security

24   or the Attorney General of the United States.        This Court has no

25   authority to grant political asylum to Petitioner.         Because

26   political asylum was not part of Petitioner’s plea agreement and

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1    cannot be part of the sentence imposed by the Court, this Court

2    has no legal basis to hear or consider Petitioner’s motion.

3          For the reasons stated, Petitioner’s motion to grant

4    political asylum is DENIED.

5          IT IS SO ORDERED.

6    Dated:   October 14, 2010              /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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